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 1                                                           THE HONORABLE THOMAS S. ZILLY
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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
 8
     BUNGIE, INC.,                                      No. 2:21-cv-811-TSZ
 9
                             Plaintiff,                 [PROPOSED] FINAL JUDGMENT ON
10                                                      ARBITRATION AWARD
     v.
11
     AIMJUNKIES.COM; PHOENIX
12   DIGITAL GROUP LLC; DAVID
     SCHAEFER; JORDAN GREEN;
13   JEFFREY CONWAY; and JAMES MAY,
14                           Defendants.
15
              This action was filed by Plaintiff Bungie, Inc. (“Bungie”) against defendants
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     AimJunkies.com, Phoenix Digital Group LLC, David Schaefer, Jordan Green, Jeffrey Conway,
17
     and James May (collectively, the “Defendants”). After certain of Bungie’s causes of action were
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     referred to arbitration, the parties thereafter arbitrated those claims before JAMS-appointed
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     arbitrator Judge Ronald Cox (Ret.). This Court confirmed the arbitrator’s January 31, 2023
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     Permanent Injunction and February 1, 2023 Final Award. A copy of the Final Award is attached
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     as Exhibit A; a copy of the Permanent Injunction is attached as Exhibit B.
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              This Court has subject matter jurisdiction over this matter because (a) it had subject
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     matter jurisdiction over the arbitrated claims when they were originally filed and this Court then
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     stayed those claims, thus retaining jurisdiction to confirm the award; and (b) pursuant to 28
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     U.S.C. § 1332 because the amount in controversy exceeds $75,000, exclusive of interest and
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      [PROPOSED] FINAL JUDGMENT ON
                                                                                 Perkins Coie LLP
      ARBITRATION AWARD                                                    1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811-TSZ) – 1                                              Seattle, WA 98101-3099
                                                                               Phone: 206.359.8000
     160723775.2                                                                Fax: 206.359.9000
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 1   costs, and there is complete diversity of citizenship insofar as this action is between citizens of
 2   different states.
 3            Consistent with the Final Award and Permanent Injunction, and as confirmed by Order of
 4   this Court, the Court enters Judgment as follows:
 5            Bungie is awarded judgment against Defendants AimJunkies.com, Phoenix Digital
 6   Group, LLC, David Schaefer, Jordan Green, Jeffrey Conway, and James May, jointly and
 7   severally, in the amount of $4,396,222, which consists of
 8                  1. $3,657,500 in statutory damages;
 9                  2. $598,641 in attorneys’ fees;
10                  3. $101,800 in expert witness fees; and
11                  4. $38,281 in other expenses.
12            The Final Award and Permanent Injunction of the arbitrator are, in accordance with the
13   agreements between the parties, final and binding upon them. The Court accepts the Final
14   Award and Permanent Injunction as its own, rules that they are final and binding upon the
15   parties, and enters Judgment accordingly.
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17            DATED this _______ day of ______, 2023.
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19                                                        Honorable Thomas S. Zilly
                                                          UNITED STATES DISTRICT JUDGE
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      [PROPOSED] FINAL JUDGMENT ON
                                                                                 Perkins Coie LLP
      ARBITRATION AWARD                                                    1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811-TSZ) – 2                                              Seattle, WA 98101-3099
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                   Case 2:21-cv-00811-TSZ Document 88-2 Filed 02/16/23 Page 3 of 3




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     Presented by:
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     Attorneys for Plaintiff Bungie, Inc.
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      [PROPOSED] FINAL JUDGMENT ON
                                                                       Perkins Coie LLP
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